                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE

  MIKE SETTLE,                                     )
                                                   )
             Plaintiff,                            )
                                                   )
  v.                                               )    No. 3:16-CV-250-RLJ-CCS
                                                   )
  SHAWN PHILLIPS,                                  )
                                                   )
             Defendant.                            )

                           MEMORANDUM OPINION AND ORDER

        Proceeding pro se, Plaintiff Mike Settle, a prisoner in the Morgan County Correctional

 Complex, filed this civil rights action under 42 U.S.C. § 1983 in the Western District of Tennessee

 [Doc. 1]. The case was transferred to this Court based on venue considerations [Doc. 5] and,

 thereafter, Plaintiff was appointed counsel pursuant to his own motion [Doc. 40]. The federal

 claims in this lawsuit that remain for resolution are whether Plaintiff’s continued confinement in

 administrative segregation violates due process and the Eighth Amendment; whether he was

 denied medical care in violation of the Eighth Amendment; and whether he was retaliated against

 for filing this case [Docs. 7 at 9 and 35 at 9]. The appended state law claim for the intentional

 infliction of emotional distress likewise remains for disposition [Doc. 35 at 9].

         Defendant Shawn Phillips has submitted a motion for summary judgment; a memorandum

 of law; the affidavit of Benjamin Bean, a Correctional Program Manager 1 with the Tennessee

 Department of Correction (“TDOC”); and a statement of material facts [Docs. 41-44]. In his

 motion, Defendant argues that Plaintiff has failed to exhaust his administrative remedies through

 the prison grievance process prior to filing this lawsuit [Doc. 41]. Plaintiff, through counsel, has

 responded to the motion, essentially acknowledging that the law supports Defendant’s argument—

 an argument that Plaintiff recognizes has been bolstered by evidence supplied in Mr. Bean’s




Case 3:16-cv-00250-RLJ-DCP Document 65 Filed 12/14/17 Page 1 of 8 PageID #: 453
 affidavit and the attachments thereto [Doc. 60]. However, Plaintiff suggests that this case be

 stayed, rather than dismissed, while he pursues administrative remedies or, alternatively, that the

 Court dismiss the case without prejudice, if it concludes that Defendant is entitled to summary

 judgment and a dismissal of the case [Id.]. Defendant replied to Plaintiff’s response, maintaining

 that the TDOC policy cited by Plaintiff as supporting a stay of this case pending exhaustion of a

 grievance is inapplicable because the grievance in question was filed after Plaintiff filed the instant

 lawsuit on May 5, 2016 [Doc. 63].

        After reviewing the motion, the response, the reply and the record in this case, the Court

 finds, for the reasons that follow, that the record as it presently stands is insufficient to decide

 Defendant’s motion. Therefore, in order to resolve the motion, the Court will require Defendant

 to supplement his summary judgment motion to show that, prior to the filing of this lawsuit,

 Plaintiff had an “available” administrative remedy in which to present his claim involving

 excessive confinement in administrative segregation.

 I.     SUMMARY JUDGMENT STANDARD

        Summary judgment will be granted with respect to Defendant’s motion, as long as what is

 before the Court by way of pleadings, declarations, cited materials, records, and other pertinent

 documents demonstrate that there is no genuine dispute as to any material fact and that he is

 entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a), (c); Celotex Corp. v. Catrett, 477

 U.S. 317, 323 (1986). In ruling on a motion for summary judgment, the Court must view the facts

 contained in the record and all inferences that can be drawn from those facts in the light most

 favorable to the non-moving party. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S.

 574, 587 (1986); Nat’l Satellite Sports, Inc. v. Eliadis, Inc., 253 F.3d 900, 907 (6th Cir. 2001).




                                                   2

Case 3:16-cv-00250-RLJ-DCP Document 65 Filed 12/14/17 Page 2 of 8 PageID #: 454
 The Court cannot weigh the evidence, judge the credibility of witnesses, or determine the truth of

 any matter in dispute. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249 (1986).

         The moving party bears the initial burden of demonstrating that no genuine issue of

 material fact exists. Celotex Corp., 477 U.S. at 323. To refute such a showing, the non-moving

 party must present some significant, probative evidence indicating the necessity of a trial for

 resolving a material factual dispute. Id. at 322. A mere scintilla of evidence is not enough.

 Anderson, 477 U.S. at 252; McClain v. Ontario, Ltd., 244 F.3d 797, 800 (6th Cir. 2000).

         The Court’s role is limited to determining whether the case contains sufficient evidence

 from which a jury could reasonably find for the non-moving party. Anderson, 477 U.S. at 248-49;

 Nat’l Satellite Sports, 253 F.3d at 907. If the non-moving party fails to make a sufficient showing

 on an essential element of its case with respect to which it has the burden of proof, the moving

 party is entitled to summary judgment. Celotex Corp., 477 U.S. at 323.

         The party opposing a Rule 56 motion may not simply rest on the mere allegations or denials

 contained in the party’s pleadings. Anderson, 477 U.S. at 256. Instead, an opposing party

 affirmatively must present competent evidence sufficient to establish the existence of a genuine

 issue of material fact that requires a trial to resolve. Id.

         It is appropriate to grant summary judgment based on an alleged failure to exhaust

 administrative remedies “only if defendants establish the absence of a ‘genuine dispute as to any

 material fact’ regarding non-exhaustion.” Surles v. Andison, 678 F.3d 452, 455 (6th Cir. 2012)

 (quoting Risher v. Lapin, 639 F.3d 236, 240 (6th Cir. 2011)). Moreover, a defendant’s “initial

 summary judgment burden is higher in that it must show that the record contains evidence

 satisfying the burden of persuasion and that the evidence is so powerful that no reasonable jury

 would be free to disbelieve it.” Id. at 455–56 (citation and internal quotation marks omitted).



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Case 3:16-cv-00250-RLJ-DCP Document 65 Filed 12/14/17 Page 3 of 8 PageID #: 455
 II.    EXHAUSTION OF ADMINISTRATIVE REMEDIES

        As noted, Defendant argues in his motion that Plaintiff failed to exhaust his administrative

 remedies before filing his civil rights complaint, even though exhaustion of administrative

 remedies is a pre-filing requirement, as set forth in the Prison Litigation Reform Act of 1995

 (“PLRA”).

        A.      Applicable Law

        The PLRA provides that “[n]o action shall be brought with respect to prison conditions

 under 42 U.S.C. § 1983 by a prisoner confined in any jail, prison, or other correctional facility

 until such administrative remedies as are available are exhausted.” 42 U.S.C. § 1997e(a). If there

 is an administrative process that will review a prisoner’s complaint, a plaintiff must exhaust the

 process. Booth v. Churner, 532 U.S. 731, 740-41 (2001). If exhaustion is incomplete when an

 inmate files suit, dismissal is mandatory and is not amenable to judicial discretion. Ross v. Blake,

 136 S. Ct. 1850, 1857–58, 195 L. Ed. 2d 117 (2016).

        This holds true of all inmate suits about prison life, Porter v. Nussle, 534 U.S. 516, 532

 (2002), including those seeking money damages even if money damages are not available through

 the administrative process. Booth, 532 U.S. at 740-41. To be “available,” an administrative

 remedy must be “capable of use for the accomplishment of a purpose.” Id. at 738 (citing Webster’s

 Third New Int’l Dictionary 150 (1993)). However, administrative remedies must be “available”

 because “[a] prisoner need not exhaust remedies if they are not ‘available.’” Ross, 136 S. Ct. at

 1854-55.

        Although exhaustion of administrative remedies is mandatory, a prisoner need not plead or

 demonstrate exhaustion in his complaint. Jones v. Bock, 549 U.S. 199, 216 (2007). Instead, a

 failure to exhaust is “an affirmative defense under the PLRA,” with the burden of proof falling on



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Case 3:16-cv-00250-RLJ-DCP Document 65 Filed 12/14/17 Page 4 of 8 PageID #: 456
 a defendant. Surles, 678 F.3d at 455 (quoting Bock, 549 U.S at 216); Napier v. Laurel Cnty., Ky.,

 636 F.3d 218, 225 (6th Cir. 2011) (“Because the defendants moved for summary judgment on this

 defense, it was their burden to show that there was an absence of evidence to support the

 nonmoving party’s case.”) (citing Celotex Corp., 477 U.S. at 325).

        According to the Supreme Court, “to properly exhaust administrative remedies prisoners

 must ‘complete the administrative review process in accordance with the applicable procedural

 rules,’ - rules that are defined not by the PLRA, but by the prison grievance process itself.” Bock,

 549 U.S. at 218 (quoting Woodford v. Ngo, 548 U.S. 81, 88 (2006)). The Supreme Court has

 emphasized that “[c]ompliance with prison grievance procedures, therefore, is all that is required

 by the PLRA to properly exhaust;” and that “it is the prison’s requirements, and not the PLRA,

 that define the boundaries of proper exhaustion.” Id.

        B.      Analysis

        As noted, Defendant has submitted the affidavit of Mr. Bean who, in his role as a

 Correctional Program Manager 1, serves as the authorized custodian of Plaintiff’s grievance

 records [Doc. 43, Bean Aff. at ¶1]. Mr. Bean testifies that he has reviewed the log of grievances

 that Plaintiff properly has filed since he came into TDOC’s custody and has found four grievances

 from April of 2013 to the present that were exhausted through the highest level of appeal, to wit,

 to the TDOC Deputy Commissioner of Operations, as provided for in TDOC Policy No.

 50101(VI)(C)(3) [Bean Aff. at ¶¶ 1-4, 7].

        Mr. Bean has attached copies of those grievances, a blank inmate grievance form, and

 TDOC’s inmate grievance policy [Bean Aff. at pp. 4-54]. In three of those grievances, Plaintiff

 complained about spilt milk (No. 0303397, filed June 23, 2016), trust fund issues (No. 00294799,

 filed October 6, 2015), and Reebok tennis shoes (No. 00292430, filed July 29 2015). None of



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Case 3:16-cv-00250-RLJ-DCP Document 65 Filed 12/14/17 Page 5 of 8 PageID #: 457
 those issues have been advanced as claims in this lawsuit. In the fourth grievance (No. 00305780,

 filed August 26, 2016), Plaintiff complained that he was being denied a job to retaliate against him

 for filing a lawsuit. That claim is one of the claims raised in Plaintiff’s amended complaint.

 However, as Defendant points out, the grievance alleging a retaliatory job-denial was filed on

 August 26, 2016, whereas Plaintiff filed this instant case on May 5, 2016, more than three months

 earlier.

            Additionally, the grievance system procedures provide that an inmate, who seeks to express

 a complaint and have it resolved, must file a grievance within seven days of the event prompting

 the grievance [Bean Aff. at 30]. If the inmate is dissatisfied with the response to the grievance, he

 may pursue a two-step review of that response [Id. at 31]. The inmate may appeal the response

 first to the grievance committee and the Warden [Id.]. If unhappy with the result of the appeal,

 the inmate may appeal that result further to the Deputy Commissioner of Operations [Id.]. Each

 step is governed by set time limits [Id. at 30-31]. Certain types of matters are not appropriate for

 resolution through the grievance procedure, including “classification matters such as institutional

 placement and custody level, which may be appealed through other avenues outlined in the #400

 policy series” [Id. at 32].

            “An inmate exhausts a claim by taking advantage of each step the prison holds out for

 resolving the claim internally and by following the critical procedural rules of the prison's

 grievance process to permit prison officials to review and, if necessary, correct the grievance on

 the merits in the first instance.” Reed-Bey v. Pramstaller, 603 F.3d 322, 324 (6th Cir. 2010) (all

 internal quotation marks and citations omitted). It is unclear to the Court, given the exclusion of

 matters related to institutional placement and custody level, whether TDOC’s grievance system




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Case 3:16-cv-00250-RLJ-DCP Document 65 Filed 12/14/17 Page 6 of 8 PageID #: 458
 provided a vehicle for Plaintiff’s complaint about his extended period in administrative

 segregation.

        At this point in time, the Court cannot say that Defendant has carried his burden of

 establishing that Plaintiff had available to him a grievance system which would consider his

 complaint about his extensive confinement in administrative segregation and that Plaintiff failed

 to exhaust his administrative remedies against Defendant as required by § 1997e(a).

 III.   CONCLUSION

        Because Defendant has not yet shown that “that there is no genuine dispute as to any

 material fact” concerning whether Plaintiff properly exhausted his administrative remedies,

 Defendant is ORDERED to supplement his motion for summary judgment to clarify whether

 Plaintiff had or lacked an available administrative remedy with respect to his administrative

 segregation claim. Defendant shall have twenty (20) days from the date of this Order to file the

 supplement.

        Finally, Plaintiff has filed a motion seeking to have appointed counsel withdraw from

 representing him in this matter and asking the Court to permit him to file a pro se response to the

 summary judgment motion [Doc. 64]. The Court would find it helpful to have counsel respond to

 Plaintiff’s motion, if counsel so wishes; therefore, the Court will delay acting on this pro se motion

 for twenty (20) days from the date of this Order to allow counsel to file any desired response.




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Case 3:16-cv-00250-RLJ-DCP Document 65 Filed 12/14/17 Page 7 of 8 PageID #: 459
        The trial date remains set for Monday, January 30, 2018, [Doc. 28], and will not be

 continued or rescheduled at this point in these proceedings.



                IT IS SO ORDERED.

                                                                ENTER:



                                                                      s/ Leon Jordan
                                                                United States District Judge




                                                 8

Case 3:16-cv-00250-RLJ-DCP Document 65 Filed 12/14/17 Page 8 of 8 PageID #: 460
